AO 245C               CaseAmended
                (Rev. 09/11) 2:11-cr-00327-JCM-CWH
                                  Judgment in a Criminal Case           Document 115              Filed 01/24/13(NOTE:Page
                                                                                                                       Identify1Changes
                                                                                                                                 of 9 with Asterisks (*))
                Sheet 1


                                           UNITED STATES DISTRICT COURT
                                                                        District of                                       Nevada
           UNITED STATES OF AMERICA                                              AMENDED JUDGMENT IN A CRIMINAL CASE
                               V.
                                                                                 Case Number:                     2:11-CR-327-PMP-CWH
                   MICHAEL CLYDE DUTY                                            USM Number:                      46240-048
Date of Original Judgment: 1/16/2013                                             James Hartsell
(Or Date of Last Amended Judgment)                                               Defendant’s Attorney

Reason for Amendment:
G Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2))                G Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
G Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                 G Modification of Imposed Term of Imprisonment for Extraordinary and
    P. 35(b))                                                                          Compelling Reasons (18 U.S.C. § 3582(c)(1))
G Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))            G Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
X Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)                    to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))

                                                                                 G Direct Motion to District Court Pursuant G 28 U.S.C. § 2255 or
                                                                                   G 18 U.S.C. § 3559(c)(7)
                                                                                 G Modification of Restitution Order (18 U.S.C. § 3664)
THE DEFENDANT:
X pleaded guilty to count(s) TWO OF THE INDICTMENT
G pleaded nolo contendere to count(s)
    which was accepted by the court.
G was found guilty on count(s)
    after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                     Nature of Offense                                                              Offense Ended                   Count
18 USC 371                          Conspiracy to Unlawfully Deal in Firearms in Violation of                     9/6/2011                     2
                                    18 USC 922(a)(1)



       The defendant is sentenced as provided in pages 2                   through 6          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has been found not guilty on count(s)
G Count(s)                                       G is G are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                 1/24/2013
                                                                                 Date of Imposition of Judgment


                                                                                 Signature of Judge
                                                                                 PHILIP M. PRO, UNITED STATES DISTRICT JUDGE
                                                                                 Name and Title of Judge
                                                                                  January 24, 2013.
                                                                                 Date
AO 245C        Case
             (Rev.    2:11-cr-00327-JCM-CWH
                   09/11)                                Document 115
                          Amended Judgment in a Criminal Case                         Filed 01/24/13          Page 2 of 9
             Sheet 2 — Imprisonment                                                                  (NOTE: Identify Changes with Asterisks
                                                                                                  Judgment — Page          2   of     6
DEFENDANT:                 MICHAEL CLYDE DUTY
CASE NUMBER:               2:11-CR-327-PMP-CWH

                                                         IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of : FIFTEEN (15) MONTHS




X      The court makes the following recommendations to the Bureau of Prisons:
       The defendant be incarcerated in a facility close to Las Vegas, Nevada.




G      The defendant is remanded to the custody of the United States Marshal.

G      The defendant shall surrender to the United States Marshal for this district:
       G     at                                 G    a.m.      G    p.m.      on                                       .

       G     as notified by the United States Marshal.

X      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

       X     by 12 Noon on        March 15, 2013                         .

       X     as notified by the United States Marshal.

       G     as notified by the Probation or Pretrial Services Office.


                                                                RETURN
I have executed this judgment as follows:




       Defendant delivered on                                                        to

at                                                   with a certified copy of this judgment.




                                                                                                  UNITED STATES MARSHAL


                                                                         By
                                                                                               DEPUTY UNITED STATES MARSHAL
AO 245C          Case
               (Rev.    2:11-cr-00327-JCM-CWH
                     09/11)                                Document 115
                            Amended Judgment in a Criminal Case                          Filed 01/24/13          Page 3 of 9
               Sheet 3 — Supervised Release                                                            (NOTE: Identify Changes with Asterisks
                                                                                                     Judgment—Page          3     of         6
DEFENDANT:                 MICHAEL CLYDE DUTY
CASE NUMBER:               2:11-CR-327-PMP-CWH
                                                      SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :        THREE (3) YEARS




         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state, or local crime.
The Defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter, as determined by the court, not to exceed 104 tests annually. Revocation is mandatory for refusal to comply.
G The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
X      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
X      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
G The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
       student, as directed by the probation officer. (Check, if applicable.)
G The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                      STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
        felony, unless granted permission to do so by the probation officer;
10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
        record, personal history, or characteristics and shall permit the probation officer to make such notifications and confirm the defendant’s
        compliance with such notification requirement.
AO 245C   (Rev.Case     2:11-cr-00327-JCM-CWH
                09/11) Amended Judgment in a Criminal Case   Document 115      Filed 01/24/13        Page 4 of 9
          Sheet 3C — Supervised Release                                                        (NOTE: Identify Changes with Asterisks (*))
                                                                                            Judgment—Page        4      of         6
DEFENDANT:              MICHAEL CLYDE DUTY
CASE NUMBER:            2:11-CR-327-PMP-CWH

                                     SPECIAL CONDITIONS OF SUPERVISION
1. You shall not possess, have under your control, or have access to any firearm, explosive device, or other dangerous
weapons, as defined by federal, state, or local law.
2. You shall submit your person, property, residence, place of business and vehicle under your control to a search, conducted
by the United States probation officer or any authorized person under the immediate and personal supervision of the
probation officer, at a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband or
evidence of a violation of a condition of supervision; failure to submit to a search may be grounds for revocation; the
defendant shall inform any other residents that the premises may be subject to a search pursuant to this condition.
3. You shall participate in and successfully complete a substance abuse treatment and/or cognitive based life skills program,
which will include drug/alcohol testing and/or outpatient counseling, as approved and directed by the probation office. You
shall refrain from the use and possession of beer, wine, liquor, and other forms of intoxicants while participating in substance
abuse treatment. Further, you shall be required to contribute to the costs of services for such treatment, as approved and
directed by the probation office based upon your ability to pay.
4. You shall participate in and successfully complete an educational program to earn a General Equivalency Diploma (GED).
5. You shall report, in person, to the probation office in the district to which you are released within 72 hours of discharge
from custody.
AO 245C    (Rev.Case     2:11-cr-00327-JCM-CWH
                 09/11) Amended Judgment in a Criminal Case      Document 115           Filed 01/24/13            Page 5 of 9
           Sheet 5 — Criminal Monetary Penalties                                                          (NOTE: Identify Changes with Asterisks (*))
                                                                                                  Judgment — Page      5         of         6
DEFENDANT:                     MICHAEL CLYDE DUTY
CASE NUMBER:                   2:11-CR-327-PMP-DWH
                                          CRIMINAL MONETARY PENALTIES
    The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                   Assessment                                         Fine                              Restitution
TOTALS           $ 100.00                                        $    0                               $ 0


G The determination of restitution is deferred until             . An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

G The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.
    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is paid.

Name of Payee                              Total Loss*                         Restitution Ordered                  Priority or Percentage




TOTALS                            $                                        $


G    Restitution amount ordered pursuant to plea agreement $

G    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G    The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

     G the interest requirement is waived for       G fine           G restitution.
     G the interest requirement for the      G fine           G restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
AO             Case
            (Rev. 09/11)2:11-cr-00327-JCM-CWH            Document 115
                         Amended Judgment in a Criminal Case                              Filed 01/24/13           Page 6 of 9
            Sheet 6 — Schedule of Payments                                                              (NOTE: Identify Changes with Asterisks
                                                                                                     Judgment — Page         6      of        6
DEFENDANT:                 MICHAEL CLYDE DUTY
CASE NUMBER:               2:11-CR-327-PMP-CWH

                                                     SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    X Lump sum payment of $            100.00               due immediately, balance due

          G not later than                                       , or
          G in accordance with G C,              G   D,    G     E, or    G F below; or
B    G Payment to begin immediately (may be combined with                G C,        G D, or      G F below); or
C    G Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                         (e.g., months or years), to commence                  (e.g., 30 or 60 days) after the date of this judgment; or

D    G Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                   over a period of
                       (e.g., months or years), to commence                  (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    G Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F    G Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




G Joint and Several
     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and corresponding
     payee, if appropriate.




G The defendant shall pay the cost of prosecution.
G The defendant shall pay the following court cost(s):
X    The defendant shall forfeit the defendant’s interest in the following property to the United States:
     SEE ATTACHED AMENDED PRELIMINARY ORDER OF FORFEITURE


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
     Case
      Case2:11-cr-00327-JCM-CWH
           2:11-cr-00327-PMP-CWH Document
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                                          112           Filed 01/16/13
                                                        Filed 01/24/13 Page
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 5
 6                             UNITED STATES DISTRICT COURT
 7                                     D ISTRICT O F N EVA D A

 8 UNITED STATESOFAM ERICA,                        )
                                                   )
 9                        Plaintiff,               )
                                                   )
10           v.                                    )        2:1I-CR-3Z7-PMP-ICW HI
                                                   )
1l M ICHAEL CLYDE DUTY,                            )
                                                   )
12                        Defendant.               )
13                    AM ENDED PRELIM INARY ORDER OF FORFEITURE                                            .
14           ThisCourtfindsthaton August22,2012,defendantM ICHAEL CLYDE DUTY pledguilty
15 to CotmtTwo ofaNine-cotmtCriminalIndictmentcharginghim in CountTwo with Conspiracyto
16 UnlawfullyDealinFirearmsinviolationofTitle18,UnitedStatesCode,Sections371and922(a)(1).
17 Crim inalIndictment,ECF No. 1;Plea M emorandum , ECF No.76;M inutes of Change ofPlea
l% Procetdings,ECF No.75.
19           ThisCourtfindsdefendantM ICHAEL CLYDE DUTY agreedtotheforfeitureoftheproperty
20    setforth in thePlea M emorandum .PleaM em orandum , ECF N o.76.

21           This Courtfinds,pursuantto Fed.R.Crim.P.32.2(b)(1)and (2),the United Statesof
22    Americahasshown therequisitenexusbetween property setforth in thePleaM emorandum andthe
23 offenseto which defendantM ICHAEL CLYDE DUTY pled guilty. Crim inalIndictm ent,ECF No.
24    1)PleaM emorandum,ECF No.76.
25    ...
26    ...
     Case
      Case2:11-cr-00327-JCM-CWH
           2:11-cr-00327-PMP-CWH Document
                                 Document 115
                                          112            Filed 01/16/13
                                                         Filed 01/24/13 Page
                                                                         Page2 8ofof3 9




 1           ThefollowingassetsaresubjecttoforfeittzrepursuanttoTitle18,UnitedStatesCode,Section
 2 924(d)(1)andTitle28.UnitedStatesCode,Section 2461(c):
 3           (a) M averick model88,12gaugeshort-barreledshotgun,serialnumberMV049340;
 4           (b) M ossbergmodel500A,12gaugeshotgun,serialnumber1.244961;
 5           (c) IntratecM odelTec-g,9mm,serialnumber23988;
 6           (d) RussianSKS7.62X39riflewithbayonet,serialnumber9937905;
 7           (e) Berettamodel92175Compact,91m11pistol,serialnumberE31982Z,)
 8           (9    ahomemadeM ac-l1type,9mm pistol;
 9           (g) Keltic,CNC Industries,lnc.P1lpistols9mm,serialnumberASK60;and
10           (h) anyanda1lammunition Cpropertyn).
11           n is Courtfind the United States ofAmerica is now entitled to,and should, reduce the
12 aforementioned propertyto the possession oftheUnited StatesofAm erica.
13           NOW THEREFORE,IT IS HEREBY ORDERED,ADJUDGED,AND DECREED thatthe
14    United StatesofAmerica should seizetheaforem entioned property.
15           IT IS FURTHER ORDERED,ADJUDGED,AND DECREED al1right, title,and interestof
16 M ICHAEL CLYDE DUTY in the aforementioned property isforfeited and isvested in theUnited
17 SltesofAm erica and shallbesafely held by theUnited StatesofAmericauntilfurtherorderofthe
18 Court.
19           IT IS FURTHER ORDERED,ADJUDGED , AN D DECREED theUnited SotesofAmerica

20 shallpublish foratlemstthirty (30)consecutivedayson theofficialinternetgovernmentforfeiture
2l websiteswwm forfeiture.eov,noticeofthisOrder,which shalldescribetheforfeited property, stte
22 thetimetmdertheapplicablestatutewhenapetitioncontestingtheforfeituremustbetiled, and sïte
23 thensmeandcontad inform ation forthegovem mentattorneytobeservedwitbthepetition, pursuant
24 toFed.R.Crim.P.32.2(b)(6)andTitle21,United StatesCode,Section 853(n)(2).
25           IT ISFURTHER ORDERED,ADJUDGED, M D DECM ED aPetitiOn,ifany,mustbefiled
26 with theClerk oftheCourts333LmsVegasBoulevard South, Las V egas,N evada 89101.




                                                  2
    @        Case
              Case2:11-cr-00327-JCM-CWH
                   2:11-cr-00327-PMP-CWH Document
                                         Document 115
                                                  112           Filed 01/16/13
                                                                Filed 01/24/13 Page
                                                                                Page3 9ofof3 9

f




         1           IT IS FURTHER ORDERED,ADJUDGED,AND DECREED acopy ofthepetitionsifany,
         2    shallbe served upon the AssetForfeiture Attorney ofthe United StatesAttorney's Oftice atthe
         3    following addressatthetimeoffiling:

         4           Mi
                     A cjaelA.Pumphreys
                      sslstantUnlted StatesAttorrley                                                        .
         5           Lloyd DwGeorgeUnited StatesCourthouse
                     333 LasVegasBoulevard South,Suite5000
         6           Las Vegas,N evada 89101,
         7           IT IS FURTHER ORDERED,ADJUDOED,AND DECREED thenotice described herein
         8 need notbepublished in theeventaDeclaration ofForfeiture isissued bytheappropriateagency
         9 followingpublication ofnoticeofseizureand intentto administratively forfeittheabove-described
        10    property.
        11           DATED this 1èo dayof              '            ,   2013.
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                                                           TED TATES DI         CT JUDGE
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